         Case 20-11823           Doc 167 Filed 11/19/20 Entered 11/19/20 15:36:52                             Desc Ch 7
                                        First Mtg Corp POC Page 1 of 3
Information to identify the case:
Debtor
                Hopster's LLC                                                   EIN 46−2521573
                Name


United States Bankruptcy Court District of Massachusetts                        Date case filed in chapter 11            9/3/20

Case number: 20−11823                                                           Date case converted to chapter 7        11/19/20


Official Form 309D (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− Proof of Claim Deadline Set                                                                12/15

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue,
assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment from
debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and
attorney's fees.

To protect your rights, you may wish to consult an attorney. All documents filed in the case may be inspected at the
bankruptcy clerk's office at the address listed below or through PACER (Public Access to Court Electronic Records at
www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other document in the case. Do not include more than the last four
digits of a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that
you file with the court.
1. Debtor's full name               Hopster's LLC
2. All other names used in
    the last 8 years
3. Address                          292 Centre Street
                                    Newton, MA 02458
4. Debtor's attorney                Alex R. Hess                                         Contact phone (610) 730−9472
   Name and address                 Alex R. Hess Law Group                               Email: ahess@tbhr−law.com
                                    245 First Street
                                    18th Floor
                                    Cambridge, MA 02142
5. Bankruptcy trustee               Stephen Darr                                         Contact phone 617−226−5593
   Name and address                 Huron Consulting Group                               Email: sdarr@hcg.com
                                    Suite 2301
                                    100 High St.
                                    Boston, MA 02110
6. Bankruptcy clerk's office U. S. Bankruptcy Court                                     Hours open
   Documents in this case may J.W. McCormack Post Office & Court House                  Monday−Friday
   be filed at this address.         5 Post Office Square, Suite 1150                   8:30am−5:00pm
   You may inspect all records Boston, MA 02109−3945                                    Contact phone              617−748−5300
   filed in this case at this office
   or online at www.pacer.gov.                                                          Date:                      11/19/20

7. Meeting of creditors          December 17, 2020 at 10:00 AM                    Location:
   The debtor's representative                                                    The meeting will be held
   must attend the meeting to be The meeting may be continued or adjourned to a TELEPHONICALLY
   questioned under oath.        later date. If so, the date will be on the court
   Creditors may attend, but are docket.
   not required to do so.
   The dial−in number and participant code for the telephonic section 341 meeting of creditors will be posted to the
          docket within 14 days prior to the meeting. You may also contact the trustee for dial−in information.
                                                                                  For more information, see page 2 >
         Case 20-11823             Doc 167 Filed 11/19/20 Entered 11/19/20 15:36:52                                        Desc Ch 7
                                          First Mtg Corp POC Page 2 of 3
Official Form 309D (For Corporations or Partnerships) Notice of Chapter 7 Bankruptcy Case −− Proof of Claim Deadline Set        page 1
         Case 20-11823             Doc 167 Filed 11/19/20 Entered 11/19/20 15:36:52                                        Desc Ch 7
                                          First Mtg Corp POC Page 3 of 3
Debtor Hopster's LLC                                                                                           Case number 20−11823 −jeb

8. Deadlines                           Deadline for all creditors to file a proof of claim Filing deadline: 1/28/21
   Papers and any required fee         (except governmental units):
   must be received by the
   bankruptcy clerk's office no        Deadline for governmental units to file a proof Filing deadline: 5/18/21
   later than 4:30 PM (Eastern         of claim:
   Time) by the deadlines listed.      A proof of claim is a signed statement describing a creditor's claim. A proof of claim form
                                       (Official Form 410) may be obtained at www.uscourts.gov or any bankruptcy clerk's office or
                                       printed from the courts website at www.mab.uscourts.gov/mab/creditorinformation. You may
                                       also file your claim electronically through the court's website at www.mab.uscourts.gov.

                                               • If you do not file a proof of claim by the deadline listed, you might not be paid any
                                                 money on your claim.


                                               • To be paid, you must file a proof of claim even if your claim is listed in the
                                                 schedules that the debtor filed.
                                       Secured creditors retain rights in their collateral regardless of whether they file a proof of
                                       claim. Filing a proof of claim submits the creditor to the jurisdiction of the bankruptcy court,
                                       with consequences a lawyer can explain. For example, a secured creditor who files a proof
                                       of claim may surrender important nonmonetary rights, including the right to a jury trial.

9. Deadline to file §503(b)(9) Requests under Bankruptcy Code §503(b)(9)(goods sold                    Filing              60 days from the
   requests                    within twenty(20) days of bankruptcy) must be filed in the              deadline:           first date set for the
                                       bankruptcy clerk's office.                                                          meeting of
                                                                                                                           creditors.


10. Creditors with a foreign           If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
    address                            asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                       United States bankruptcy law if you have any questions about your rights in this case.

11. Liquidation of the                 The bankruptcy trustee listed on the front of this notice will collect and sell the debtor's
    debtor's property and              property. If the trustee can collect enough money, creditors may be paid some or all of the
                                       debts owed to them, in the order specified by the Bankruptcy Code. To ensure you receive
    payment of creditors'              any share of that money, you must file a proof of claim, as described above.
    claims

12. Abandonment of Estate              Notice is hereby given that any creditor or other interested party who wishes to receive
    Property                           notice of the estate representative's intention to abandon property of the estate pursuant to
                                       11 U.S.C. §554(a) must file with the Court and serve upon the estate representative and the
                                       United States trustee a written request for such notice within fourteen (14) days from the
                                       date first scheduled for the meeting of creditors.




Official Form 309D (For Corporations or Partnerships) Notice of Chapter 7 Bankruptcy Case −− Proof of Claim Deadline Set           page 2
